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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

COOPER SCHULZE, Individually and On           Civil Action No. 3:20-cv-1130-X
Behalf of All Others Similarly Situated,
                                              AMENDED CLASS ACTION
                                 Plaintiff,   COMPLAINT FOR VIOLATIONS OF
                                              THE FEDERAL SECURITIES LAWS
                       v.

HALLMARK FINANCIAL SERVICES,                  JURY TRIAL DEMANDED
INC., NAVEEN ANAND, and JEFFREY R.
PASSMORE,

                               Defendants.




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       Lead Plaintiff Rajeev Yalamanchili (“Lead Plaintiff” or “Mr. Yalamanchili”) brings this

action pursuant to Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), and Rule 10b-5 promulgated thereunder, on behalf of himself and a Class of all other

persons or entities who purchased or otherwise acquired the publicly-traded common stock of

Hallmark Financial Services, Inc. (“Hallmark” or the “Company”) during the period from March

5, 2019, through March 17, 2020, inclusive (the “Class Period”). The Defendants are Hallmark

and Executive Defendants Naveen Anand (Hallmark’s Chief Executive Officer, or “CEO”) and

Jeffrey R. Passmore (Hallmark’s Chief Financial Officer, or “CFO”). The Executive Defendants

and Hallmark are collectively referred to herein as the “Defendants.”

       Lead Plaintiff alleges the following based upon personal knowledge as to himself and his

own acts and upon information and belief as to all other matters. Lead Plaintiff’s information and

belief are based on the ongoing independent investigation of its undersigned counsel. This

investigation included, but was not limited to, review and analysis of: (i) public filings with the

United States Securities and Exchange Commission (“SEC”) made by Hallmark; (ii) transcripts of

Hallmark’s conference calls with analysts and investors; (iii) publicly available presentations by

Hallmark; (iv) Hallmark’s press releases and media reports; (v) research reports by securities and

financial analysts; (vi) news and media reports concerning the Company; (vi) Hallmark’s securities

pricing data; (vii) information provided by former Hallmark employees; (viii) consultations with

relevant experts and consultants; and (ix) other publicly available material and data identified

herein. Counsel’s investigation into the factual allegations continues, and many of the relevant

facts are known only by the Defendants or are exclusively within their custody or control. Lead

Plaintiff believes that substantial additional evidentiary support for the allegations set forth herein

will be uncovered after a reasonable opportunity for further investigation or discovery.




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                                I.    NATURE OF THE ACTION

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Hallmark securities between March 5, 2019, and March 17, 2020, inclusive (the “Class

Period”). Lead Plaintiff pursues claims against the Defendants under the Securities Exchange Act

of 1934 (the “Exchange Act”).

       2.      Hallmark is a diversified property/casualty insurance group selling various types of

property and casualty insurance to its customers. When Hallmark sells an insurance policy, it

receives the premiums up-front, and may have to pay related claims years into the future. To

properly “match” these claims expenses with the premium revenues, Hallmark (like other

insurance companies) are required by relevant accounting rules to estimate the future amounts it

will have to pay to settle claims that have been made against the policy, recognizing these amounts

as a current-period expense and as a “loss reserve” liability on its balance sheet. Accordingly, loss

reserves recognized by the Company will lower the Company’s reported net income in the same

amount.

       3.      Throughout the Class Period, Hallmark and the Executive Defendants certified that

Hallmark’s loss reserve amount was adequate, appropriately calculated, effectively managed, and

properly maintained to account for unpaid losses associated with Hallmark’s insurance claim files.

Defendants further certified throughout the Class Period that Hallmark’s claims management

process included aggressively closing out new and existing insurance claims under a “fast track”

process so that loss reserves could be controlled and adequately maintained.

       4.      Defendants further certified throughout the Class Period that Hallmark employed a

specialized, experienced, and competent claims management team that effectively evaluated and

estimated loss reserves.




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       5.      However, despite Defendants’ ongoing positive representations during the Class

Period that Hallmark’s loss reserve process was sufficient and accurate, Hallmark: (i) deliberately

and systematically manipulated and understated loss reserves in order to overstate its reported net

income during the Class Period; and (ii) lacked effective internal accounting controls to prevent

such manipulation.

       6.      Defendants knowingly concealed from investors and the public that Hallmark’s loss

reserving practices were unsound. In addition to the above, Hallmark personnel were actively

engaged in poor loss reserving practices and arbitrarily and deliberately reduced the amount of

projected claim file exposures in order to manipulate and lower the amount of Hallmark’s

reportable loss reserves.

       7.      On March 2, 2020, the truth of Hallmark’s unsound claims management and loss

reserve practices began to emerge after Hallmark announced that it would be required to increase

its loss reserves a staggering $63.8 million related to insurance policies that it had sold during

2016 and 2017.       The Company also announced its intention to exit its Binding Primary

Commercial Auto business, which had appeared to be profitable prior to taking this massive charge

against earnings. On this news, the Company’s share price fell $2.10, or more than 14%, to close

at $12.23 per share on March 3, 2020, on unusually heavy trading volume.

       8.      The Binding Primary Commercial Auto business had appeared to be profitable

because of Defendants’ undisclosed improper manipulation of Hallmark’s loss reserves. Because

the Company lacked sufficient internal accounting controls, Hallmark was able to perpetrate this

fraud until its independent auditor, BDO USA, LLP (“BDO”) finally became suspicious and

required additional documentation and evidence regarding the appropriateness of the loss reserves

in connection with its audit of Hallmark’s 2019 financial statements.




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       9.      Rather than produce the incriminating evidence to its auditor, Hallmark instead

fired BDO, as Hallmark disclosed on March 11, 2020. In response to this shocking disclosure, the

Company’s share price fell from a close of $8.10 per share on March 11, 2020 to close trading at

$5.71 on March 12, 2020, a loss of $2.39 per share (29.5%), on unusually heavy trading volume.

       10.     On March 17, 2020, following the close of the market, Hallmark filed with the SEC

an amendment of its March 11, 2017 Current Report, in which it attached as Exhibit 16.1 a letter

from BDO dated March 13, 2020. In this letter, BDO disclosed that its termination resulted from

Defendants’ refusal to comply with auditing procedures established by BDO:

               BDO expanded significantly the scope of its audit on January 31,
               2020, with respect to which a substantial portion of the requests had
               not been received and/or tested prior to our termination.

       11.     Thus, instead of allowing BDO to perform an audit of Hallmark’s loss reserve

calculations, the Company decided to terminate BDO’s work, knowing that certain negative

market reaction would inevitably follow (and in fact, did follow) from the dismissal of an auditor

in the midst of an accounting scandal.

       12.     On the news of Hallmark’s refusal to comply with BDO’s audit procedures, the

Company’s share price fell from a close of $3.20 per share on March 17, 2020 to close at $3.12

per share on March 18, 2020, a decline of $0.08 per share (2.5%).

       13.     In total, between March 2, 2020 (when the truth regarding Hallmark’s false loss

reserves began to be revealed) through March 17, 2020 (when BDO disclosed it was fired because

Hallmark refused to comply with its audit procedures), Hallmark’s share price plummeted more

than 78%.

       14.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Lead Plaintiff and other Class members have

suffered significant losses and damages.


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                               II.    JURISDICTION AND VENUE

        15.     The claims asserted herein arise under and pursuant to §§ 10(b) and 20(a) of the

Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the

SEC, 17 C.F.R. § 240.10b-5.

        16.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and § 27 of the Exchange Act.

        17.     Venue is proper in this District pursuant to § 27 of the Exchange Act and 28 U.S.C.

§ 1391(b). Hallmark has its headquarters in this District, and many of the acts charged herein,

including the preparation and dissemination of materially false and misleading information,

occurred in substantial part in this District.

        18.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the United States mails, interstate telephone communications and the facilities of the national

securities exchanges.

        19.     All Defendants are subject to personal jurisdiction in the State of Texas, as they

reside in Texas, committed the acts complained of herein in Texas, or are otherwise subject to the

Texas Long-Arm Statute.

                      III.    PARTIES AND RELEVANT NON-PARTIES

A.      Lead Plaintiff Yalamanchili.

        20.     Lead Plaintiff Rajeev Yalamanchili is an individual who resides in Houston, Texas.

Mr. Yalamanchili purchased Hallmark common stock during the Class Period and was damaged

thereby, as set forth in the Certification filed by Mr. Yalamanchili in connection with his motion

requesting appointment as Lead Plaintiff in this matter.




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B.      Corporate Defendant Hallmark.

        21.    Defendant Hallmark is incorporated under the laws of Nevada with its principal

executive offices located at 5420 Lyndon B. Johnson Freeway, Suite 1100, Dallas, Texas. During

the Class Period, the Company’s common stock traded on the NASDAQ exchange, which is an

efficient market, under the ticker symbol “HALL.” As of March 17, 2020, the end of the Class

Period, Hallmark had over 18.4 million shares of common stock outstanding.

C.      Executive Defendants Anand and Passmore.

        22.    Defendant Naveen Anand (“Anand”) has served as the Company’s President and

Chief Executive Officer (“CEO”) since September 2014. During the Class Period, Defendant

Anand reviewed, approved, and signed Hallmark’s materially false and misleading SEC filings

and certifications pursuant to Section 302 of the Sarbanes-Oxley Act of 2002 (“SOX

Certifications”). Specifically, Defendant Anand signed: (i) the Company’s Forms 10-Q for the

first three quarters of 2019; and (ii) the Company’s 2018 Form 10-K.

        23.    Defendant Jeffrey R. Passmore (“Passmore”) was the Company’s Chief Financial

Officer (“CFO”) at all relevant times during the Class Period.         Defendant Passmore made

materially false and misleading statements on the Company’s earnings conference calls held on

August 8, 2019, and November 8, 2019. Defendant Passmore left his employment with the

Company effective September 30, 2020.

        24.    Defendants Anand and Passmore (collectively the “Executive Defendants”),

because of their positions with the Company, possessed the power and authority to control the

contents of the Company’s reports to the SEC, press releases and presentations to securities

analysts, money and portfolio managers and institutional investors, i.e., the market. The Executive

Defendants were provided with copies of the Company’s reports and press releases alleged

herein to be misleading prior to, or shortly after, their issuance and had the ability and


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opportunity to prevent their issuance or cause them to be corrected. Because of their positions

and access to material non-public information available to them, the Executive Defendants knew

that the adverse facts specified herein had not been disclosed to, and were being concealed from,

the public, and that the positive representations which were being made were then materially

false and/or misleading. The Executive Defendants are liable for the false statements pleaded

herein.

D.        Relevant Non-Parties

          25.    Although not defendants in this action, the following Hallmark Financial

employees are relevant to the misconduct alleged herein:

                 a)      Chuck Stauber (“Stauber”) was the Senior Vice President and Chief Claims

          Officer of Hallmark, and reported directly to Defendant Anand; and

                 b)      Stefanie Milch (“Milch”) was the Vice President of Claims Litigation of

          Hallmark, and reported directly to Stauber.

                             IV.      BACKGROUND INFORMATION

          26.    Hallmark Financial is a diversified property/casualty insurance group. The

Company’s Specialty Commercial Segment includes Commercial Auto, E&S Casualty, E&S

Property, Professional Liability, and Aerospace & Programs. The Standard Commercial Segment

includes Commercial Accounts and the run-off from the Company’s former                   Workers

Compensation operating unit.

A.        Hallmark’s Reported Loss Reserves.

          27.    An insurance policy is a contract between an “insured” and an insurance company

(such as Hallmark), whereby the insured pays an up-front amount of cash (“premiums”) in order

to protect itself from specified adverse consequences that may impact the insured during a defined

future time period. The insurance company “pools” these risks and pays “claims” when the


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specified adverse consequences impact any of its insureds. The insurance company’s profits are

the difference between the premiums it receives and: (i) the amounts that it pays out in claims; and

(ii) its overhead and other expenses.

         28.    Because the insurance company receives its revenues (the premiums) up-front and

before it will ultimately pay any claims related to the insurance policies, the “matching principle”

and relevant accounting standards require an insurance company to estimate the amount of claims

that it will ultimately pay related to the policies it issues in a given time period, and recognize these

estimates as an expense in the same time period in which it recognizes the premiums as revenue.

These estimates are known as “Reserves,” and are an insurance company’s best estimate of the

eventual cost of the claim to the company, including both the cost of indemnifying the insured and

the cost of adjusting the claim.

         29.    Accordingly, Hallmark’s reported financial statements purport to recognize these

estimated future claims as an expense in the period in which the premiums were recognized as

revenues, and as a liability on its balance sheet until the claims are actually paid.

B.       Hallmark’s Disclosed Procedures for Determining Loss Reserves.

         30.    Although there are subjective elements to estimating loss reserves, Hallmark

assured the market that its loss reserves were “adequate” and were calculated as objectively as

possible “using individual case-basis valuations and statistical analyses,” and that the estimates

were “continually reviewed and adjusted as experience develops or new information becomes

known.”1 Further, Defendants promised that their calculation of Hallmark’s reserves represented




     1
      Hallmark Financial Services, Inc., 2018 Annual Report (Form 10-K), filed March 14, 2019
(the “2018 Form 10-K”), pp. 15, F-12.


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“the best estimate of our ultimate liabilities, based on currently known facts, current law, current

technology and assumptions considered reasonable where facts are not known.”2

           31.        Hallmark set out the procedures pursuant to which loss reserves would be

estimated. Specifically, Defendants promised that loss reserves would be estimated “using case-

basis evaluations and statistical projections, which include inferences from both losses paid and

losses incurred.”3 Hallmark further elaborated that these case-by-case evaluations would be

performed by claim supervisors and managers, and touted the experience and expertise of these

employees.4

           32.        Although the case-by-case evaluations would be performed by the experienced

claims supervisors and managers, Hallmark explained that “[l]arge loss exposures are: i) reviewed

at least quarterly with senior management of the operating unit; and ii) monitored by Hallmark

senior management.5

           33.        In addition to following these procedures, Hallmark also committed to “regularly

review the estimates and adjust them as claims experience develops and new information becomes

known.”6

C.         The Level of Hallmark’s Reported Loss Reserves Was Vital Information for
           Investors.

           34.        Because the loss reserves directly impact Hallmark’s reported financial statements,

including its reported expenses, net income, liabilities and net assets, the amount of loss reserves



     2
         Id. at F-25.
     3
         Id. at 15.
     Id. at 14 (“As of December 31, 2018, we had a total of 92 claims managers, supervisors and
     4

adjusters with an average experience of approximately 16 years.”).
     5
         Id.
     6
         Id. at 15.


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is of central importance to investors in analyzing the Company’s financial condition.

         35.     Accurate loss reserves were also vital to the calculation of certain financial ratios

that the Company disclosed were “traditionally” used to measure an insurance company’s financial

performance:

                 An insurance company’s underwriting performance is traditionally
                 measured by its statutory loss and loss adjustment expense ratio, its
                 statutory expense ratio and its statutory combined ratio. The
                 statutory loss and loss adjustment expense ratio, which is calculated
                 as the ratio of net losses and loss adjustment expenses (“LAE”)
                 incurred to net premiums earned, helps to assess the adequacy of the
                 insurer’s rates, the propriety of its underwriting guidelines and the
                 performance of its claims department. The statutory expense ratio,
                 which is calculated as the ratio of underwriting and operating
                 expenses to net premiums written, assists in measuring the insurer’s
                 cost of processing and managing the business. The statutory
                 combined ratio, which is the sum of the statutory loss and LAE ratio
                 and the statutory expense ratio, is indicative of the overall
                 profitability of an insurer’s underwriting activities, with a combined
                 ratio of less than 100% indicating profitable underwriting results.7

         36.     Likewise, industry analysts closely monitored Hallmark’s loss reserves in order to

assess the Company’s value.

         37.     Given the importance of Hallmark’s loss reserve developments to industry analysts,

Hallmark’s profitability, and Hallmark’s overall insurance business model, Defendants

deceptively touted Hallmark’s allegedly methodical and sophisticated claims management process

as an effective way to mitigate against anticipated increases in loss reserves due to claims liability

exposure. Defendants consistently and falsely represented that Hallmark’s claims management

process would close claims faster and reduce exposure to increasing loss reserve costs, thereby

improving Hallmark’s financial position.




   7
       Id. at 13-14.


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D.     Hallmark Deliberately Understated its Reserves During the Class Period.

       38.    Hallmark deliberately and materially understated its loss reserves during the Class

Period, as confirmed by the following two confidential witnesses:

              a)      Confidential Witness #1. CW-1 served as a Claims Program Manager at

       Hallmark from late 2017 to early 2020. Prior to working at Hallmark, CW-1 worked for

       various large insurance companies for approximately 12 years. As a result of these

       positions, CW-1 had experience resolving and reserving losses for publicly traded

       companies. CW-1 worked in the Binding Primary Commercial Auto line at Hallmark’s

       main office in Dallas. As a Claims Program Manager, CW-1 oversaw the day-to-day

       operations of claims, loss reserve requests, the training of adjusters, audits of claims files,

       and the reporting of results to upper management. CW-1 would also project claims

       payments for adjusters’ cases when adjusters resigned or were fired. CW-1’s direct

       supervisor was Vice President of Claims Litigation Stefanie Milch, with whom CW-1 had

       daily interactions. Milch reported directly to Chief Claims Officer Chuck Stauber, who in

       turn reported directly to CEO Defendant Naveen Anand.

              b)      Confidential Witness #2.       CW-2 served as a former Senior Liability

       Adjuster at Hallmark from mid-2015 to late 2020. CW-2 worked as an adjuster in

       Hallmark’s Primary Commercial Auto Insurance business line and reported to Hallmark’s

       former Vice President and Director of Claims (who was later replaced by Stefanie Milch).

       CW-2 was responsible for evaluating Hallmark’s liability exposure on claims and lawsuits

       in the Primary Commercial Auto Insurance business line. This involved determining

       payout amounts for case settlement resolution, determining the level of loss reserves, and

       completing loss reports. All of this information would be documented in a draft report,

       which was sent to Milch and Chuck Stauber for their approvals. CW-2 stated that a claim


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       would not be paid until given final approval by Stauber. CW-2 became aware of these

       practices in late 2018, and ultimately resigned in late 2020 after he realized that Hallmark’s

       ongoing practices would not improve.

       39.     The accounts of these confidential witnesses, as recounted below, are corroborated

by each other, as well as by Hallmark’s refusal to allow BDO to properly audit its loss reserves

calculation, and by Hallmark’s dramatic $63.8 million increase in loss reserves.8

       1.      Hallmark’s actual procedures for estimating loss reserves (the “reserve
               project”) were contrary to its publicly disclosed procedures.

       40.     CW-1 personally participated in quarterly claims review meetings with Milch,

Stauber, and several other claims managers referred to as the “reserve project” by Milch and

Stauber. CW-1 stated that these meetings would often take place in Milch’s office, and sometimes

in Defendant Anand’s office with Anand participating.

       41.     Contrary to its publicly disclosed procedures for estimating loss reserves as

described above in Section IV(B), Hallmark employed procedures described by CW-1 as

“unsound” and providing no “checks and balances in place on financials.” Instead of the

procedures publicly disclosed by Defendants whereby case-by-case evaluations would be

performed by claim supervisors and managers and “reviewed” by senior management, CW-1

described that Hallmark’s actual claims management and loss reserve adjustment process

disregarded the judgment of the experienced claim supervisors and managers previously touted by



   8
      “Confidential source statements are a permissible basis on which to make an inference of
scienter.” Central Laborers’ Pension Fund v. Integrated Elec. Services Inc., 497 F.3d 546, 552
(5th Cir. 2007); accord Kohut v. KBR, Inc., 2015 WL 11995250, at *12 (S.D. Tex. Sept. 3, 2015);
Carlton v. Cannon, 184 F. Supp. 3d 428, 457 (S.D. Tex. 2016) (“In cases under the PSLRA,
plaintiffs may rely on confidential witnesses provided they are described in the complaint with
sufficient particularity to support the probability that a person in the position occupied by the
source would possess the information alleged.”) (Citation omitted).


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the Company would be summarily disregarded in order to manipulate Hallmark’s reported

financial results.

        42.     Specifically, CW-1 described the actual procedure whereby: (i) CW-1 would

collect adjusters’ claims reports; (ii) CW-1 would provide these reports to Milch; (iii) Milch would

then provide the adjusters’ claims reports to Stauber; and (iv) Stauber would arbitrarily reduce the

claim amounts without any rationale for changing the adjusters’ reserve/claims recommendations.

Stauber’s rationale for reducing the claims amounts were never documented or placed in claim

files, and only Stauber’s final loss and reserve figures were documented. CW-2 confirmed that

Hallmark’s loss reserves were frequently drastically and arbitrarily reduced from recommended

claims payouts. For example, CW-2 stated as an example that if a recommended claims payout

was $500,000, the loss reserves would be arbitrarily reduced by Milch and Stauber to as low as

$5,000 to $10,000 without any explanation of the rationale for doing so.

        43.     CW-1 stated that there were no “checks and balances” and no consistent, formal

process with compliance personnel involved during Stauber’s decisions to reduce a claim’s

predicted value (and thus lowering loss reserves and increasing reported net income). CW-1 stated

that during these meetings, Stauber would review all claims, and Stauber would almost always

reduce the amount of claim values and lower loss reserves arbitrarily and without valid reasons for

doing so. CW-2 said that Hallmark’s systemic decrease in loss reserves “did not sit well” with

him as a claim adjuster and that reductions were appearing to be done “arbitrarily” without any

documentation in claims files or explanation to claims adjusters. CW-2 further stated that Milch

and Stauber’s arbitrary lowering of loss reserves occurred frequently and “happened across the

board for commercial auto claims.” CW-2 further stated his opinion that all of Hallmark’s

commercial auto adjusters noticed that Milch and Stauber were engaged in this ongoing practice.




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       44.     CW-1 stated that, in addition to his widespread “adjustments” to loss reserve

estimates prepared by claims professionals, Stauber and/or Milch also interfered with the claims

management process and loss reserve estimation process in several other ways, including (i) by

Stauber reducing adjusters’ discretion in determining claim values from $75,000 to $10,000-

$25,000; (ii) Stauber and Milch ordering adjusters to prepare mediation proposals with arbitrarily

reduced claim values; (iii) causing claims to be projected out over 30 days, thereby spreading out

the amount of time that it took to resolve claims and impact loss reserves; and (iv) attempting to

“break up” claims into several payments in order to spread them out over several months.

       2.      Hallmark’s fraudulent claims reserve process resulted in materially
               understated reserves.

       45.     CW-1 and CW-2 agree that Hallmark deviated from its stated procedures for

calculating loss reserves in order to manipulate its reported financial results. The Confidential

Witnesses provided numerous specific examples of improper manipulation of Hallmark’s loss

reserves, including the following:

               a)     In a serious injury/fatality case, the recommended adjuster payout was

       $500,000. Due to the seriousness of the case, CW-1 recommended settling it for that

       amount. Ignoring the loss reserve amount calculated by both the adjuster and CW-1,

       Stauber reduced the amount to $300,000, without providing any reason for doing so;

               b)     As another example, CW-1 recalled a Louisiana case where the claims

       adjuster recommended a $750,000 payout, and Stauber reduced it to $600,000, again

       without any legitimate reason for deviating from the recommendation; and

               c)     Similarly, CW-2 identified a claim for which he originally set a $250,000

       loss reserve, but the loss reserve was subsequently and arbitrarily reduced to just $5,000.




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       46.     CW-2 stated that he has personally seen, in a conservative estimate, at least 100

commercial auto claims files where the loss reserves were drastically and arbitrarily reduced. He

also conservatively estimated that at least 50% or more of the commercial auto claims files had

loss reserves that were drastically reduced.

       47.     The baseless and arbitrary nature of Milch and Stauber’s manipulations of the loss

reserves is demonstrated by the subsequent settlement of these claims. For example, in example

c) directly above, on a claim for which CW-2 originally set a $250,000 loss reserve that Stauber

baselessly reduced to $5,000, CW-2 later obtained Milch’s approval to settle the case for the

$250,000 originally set by CW-2.

       48.     CW-2 further described that Milch and Stauber knew that Hallmark’s loss reserves

were improper because CW-2 had to seek Milch’s and Stauber’s authority to issue settlement

checks in instances where the claim resolution was higher than the loss reserve in this and many

other examples. CW-2 said that as a result of the arbitrary loss reserve reductions, Hallmark was

frequently making payouts to resolve pending commercial auto claims that were significantly

higher than the loss reserve set for those claims. CW-2 said that this occurred on at least 100

instances for commercial auto line claims that he was personally handling. CW-2 said this

experience occurred so frequently it was like “second nature,” and was also experienced by other

adjusters. Based upon his contemporaneous discussions with other adjusters at the Company, CW-

2 said that Hallmark’s active and arbitrary manipulation of loss reserves was “clearly prevalent.”

       49.     CW-2 stated that Milch and Stauber were arbitrarily lowering and manipulating

Hallmark’s loss reserves to make Hallmark look more profitable than it actually was to investors.

CW-2 stated that the $63.8 million dollar loss reserve adjustment announced in March 2020 was




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directly caused by the fraudulent reserve lowering practice by Milch and Stauber carried out at the

direction of Avand.

       3.      Hallmark attempted to “paper the files” by employing a new process for
               estimating loss reserves after firing accounting firm BDO.

       50.     CW-2 stated that after BDO was terminated as Hallmark’s auditor, Milch held a

meeting with the entire Hallmark claims staff. The meeting was held to discuss the process to

manage claims and loss reserves. CW-2 stated that the meetings were being held related to

Sarbanes-Oxley (SOX) compliance. The claims staff was told that they were “doing it wrong.”

The claims staff was told that they had to get verbal approval from Stauber before finalizing any

claims, even after Stauber previously approved claims reports. CW-2 stated that this was a very

unusual process and stated that Milch and Stauber were using the meeting as a pretext to wrongly

blame Hallmark’s adjusters for paying claims without Stauber’s approval and trying to blame

adjusters for improper loss reserving practices. CW-2 said that Milch and Stauber were wrongly

attempting to falsely shift any improper loss reserving practices identified by BDO away from

Milch and Stauber and onto Hallmark’s adjusters.

       4.      Stauber’s and Milch’s abuse of the loss reserves estimation process reveals
               Hallmark’s lack of internal accounting controls.

       51.     CW-1 reiterated that under the actual procedures employed by Hallmark for loss

reserve estimation, there were no “checks and balances” that prevented Stauber and Milch from

baselessly overriding loss reserve estimates for the sole purpose of manipulating Hallmark’s

reported financial results.

       52.     The inability of Hallmark’s system of accounting internal controls to prevent

manipulation of the reported amount of loss reserves constituted a “material weakness” in

Hallmark’s system of internal accounting controls.




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             V.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

       53.     During the Class Period, Defendants made a series of false and misleading

statements to investors and omitted material facts in order to convey the false impression that

Hallmark’s financial condition was strong and that it’s reported financial results were accurate.

       54.     In reality, however, each of Defendants’ statements were false and misleading in

that loss reserve amounts were being manipulated in order to present to the investing public a false

and much rosier picture about the profitability of Hallmark’s Binding Primary Auto insurance

division. Defendants’ statements alleged below were false and misleading because Defendants’

unsound reserving practices remained hidden, and the true nature of Hallmark’s loss reserves was

never disclosed to the investing public until Hallmark’s disclosure of a $63.8 million increase to

its loss reserves in March 2020.

       55.     The Class Period begins on March 5, 2019, when Hallmark Financial announced

its fourth quarter and full year 2018 financial results in a press release, including reported net

income of $10.3 million. This press release was materially false and misleading when issued

because the financial results reported therein were materially false and misleading and prepared in

violation of GAAP, as described in Section VII, infra.

       56.     On March 14, 2019, the Company filed its annual report for the period ended

December 31, 2018 on Form 10-K with the SEC (the “2018 Form 10-K”), disclosing the same

previously reported financial results as the May 5, 2019 press release. The 2018 Form 10-K also

disclosed a liability balance of $527 million in loss reserves. The 2018 Form 10-K was signed by

Defendants Anand and Passmore.

       57.     The reported financial results contained in the 2018 Form 10-K were materially

false and misleading when issued because the financial results reported therein were materially

false and misleading and prepared in violation of GAAP, as described in Section VII, infra.


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         58.         The 2018 Form 10-K also made disclosures regarding the Company’s estimation

of loss reserves. The 2018 Form 10-K assured the market that Hallmark’s loss reserves were

“adequate” and were calculated as objectively as possible “using individual case-basis valuations

and statistical analyses” and that the estimates were “continually reviewed and adjusted as

experience develops or new information becomes known”:

                     Losses and Loss Adjustment Expenses

                     Losses and LAE represent the estimated ultimate net cost of all
                     reported and unreported losses incurred through December 31, 2018
                     and 2017. The reserves for unpaid losses and LAE are estimated
                     using individual case-basis valuations and statistical analyses.
                     These estimates are subject to the effects of trends in loss severity
                     and frequency. Although considerable variability is inherent in such
                     estimates, we believe that the reserves for unpaid losses and LAE
                     are adequate. The estimates are continually reviewed and adjusted
                     as experience develops or new information becomes known. Such
                     adjustments are included in current operations.9

         59.         Hallmark set out the procedures pursuant to which loss reserves would be

estimated. Specifically, Defendants promised that loss reserves would be estimated “using case-

basis evaluations and statistical projections, which include inferences from both losses paid and

losses incurred.”10 Hallmark further elaborated that these case-by-case evaluations would be

performed by claim supervisors and managers, and touted the experience and expertise of these

employees.11

         60.         Although the case-by-case evaluations would be performed by the experienced

claims supervisors and managers, Hallmark explained that “[l]arge loss exposures are: i) reviewed




   9
       2018 Form 10-K, p. 15.
   10
        Id. at 15.
   11
      Id. at 14 (“As of December 31, 2018, we had a total of 92 claims managers, supervisors and
adjusters with an average experience of approximately 16 years.”).


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at least quarterly with senior management of the operating unit; and ii) monitored by Hallmark

senior management.”12

         61.         The foregoing disclosures were materially false and misleading when made

because, as described in Section IV(D)(1), Hallmark’s actual procedures employed in calculating

loss reserves were materially different than Hallmark described, including that the case evaluations

performed by the experienced claims supervisors and managers were disregarded by senior

management in favor of baseless adjustments designed only to manipulate the reported financial

results of the Company in violation of GAAP and SEC regulations. See, Section VII, infra. These

provisions were further materially false and misleading because Hallmark’s increasing loss

reserves were not simply a result of the continued “emergence of increase[d] frequency and

severity trends” but were, as confirmed by CW-1 and CW-2, the result of Defendants’ strategic

manipulation and lowering of loss reserves in order to falsely inflate reported financial results. As

described by CW-1 and CW-2, Stauber and Milch arbitrarily reduced claims losses and loss reserve

amounts without reason and implemented procedures that ordered adjusters to report lower losses

and reserves.

         62.         Additionally, Defendants stated in the 2018 Form 10-K that Hallmark employed

conservative reserving practices:

                     Maintaining a strong balance sheet. We seek to maintain a strong
                     balance sheet by employing conservative investment, reinsurance
                     and reserving practices and to measure our performance based on
                     long-term growth in book value per share.13

         This disclosure was materially false and misleading because Defendants were not engaged

in “conservative” reserving practices. Instead, as described in Section IV(D), supra, Defendants


   12
        Id.
   13
        Id. at 12.


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were employing arbitrary and reckless practices to lower reported claims loss and loss reserves in

order to meet Hallmark’s desired level of net income and other reported financial results.

          63.         Further, the 2018 Form 10-K falsely and misleadingly reported that its

methodology for calculating loss reserves was a methodical, statistically driven process:

                      Analysis of Losses and LAE

                      Our consolidated financial statements include an estimated reserve
                      for unpaid losses and LAE. We estimate our reserve for unpaid
                      losses and LAE by using case-basis evaluations and statistical
                      projections, which include inferences from both losses paid and
                      losses incurred. We also use recent historical cost data and periodic
                      reviews of underwriting standards and claims management practices
                      to modify the statistical projections.14

          64.         This disclosure was materially false and misleading in that Defendants were not

employing data, statistics, or internal controls to set loss reserves but were ultimately using

management’s arbitrary and unilateral discretion to lower reported loss reserves in order to

manipulate reported net income and other financial disclosures, as described in Section IV(D),

supra.

          65.         The Sarbanes-Oxley Act of 2002 (“SOX”) requires a public company to evaluate

and report on the effectiveness of its internal controls over financial reporting annually and that

the principal officers certify their responsibilities for financial reports in each quarterly and annual

filing. Pursuant to SOX and the Exchange Act, a registrant’s CEO and CFO are required to sign

and certify, in each annual or quarterly report, that the report does not contain any untrue statement

of a material fact necessary to make the statements made, in light of the circumstances under which

such statements were made, not misleading; and they have evaluated the effectiveness of the

issuer’s internal controls and have disclosed to the issuer’s auditors and audit committee all


    14
         Id. at 15.


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significant deficiencies in the design or operation of internal controls. See SOX, Section 302 (15

U.S.C. § 7241).

       66.     The 2018 Form 10-K included a SOX certification signed by Defendant Anand,

which was included as Exhibit 31(a) to the 2018 Form 10-K and provided as follows:

               I, Naveen Anand, certify that:

               1. I have reviewed this annual report on Form 10-K of Hallmark
               Financial Services, Inc.;

               2. Based on my knowledge, this report does not contain any untrue
               statement of a material fact or omit to state a material fact necessary
               to make the statements made, in light of the circumstances under
               which such statements were made, not misleading with respect to
               the period covered by this report;

               3. Based on my knowledge, the financial statements, and other
               financial information included in this report, fairly present in all
               material respects the financial condition, results of operations and
               cash flows of the Registrant as of, and for, the periods presented in
               this report;

               4. The Registrant’s other certifying officer and I are responsible for
               establishing and maintaining disclosure controls and procedures [as
               defined in Exchange Act Rules 13a-15(e) and 15d-15(e)] and
               internal control over financial reporting [as defined in Exchange Act
               Rules 13a-15(f) and 15d-15(f)] for the Registrant and have:

                      a) designed such disclosure controls and procedures, or
               caused such disclosure controls and procedures to be designed under
               our supervision, to ensure that material information relating to the
               Registrant, including its consolidated subsidiaries, is made known
               to us by others within those entities, particularly during the period
               in which this report is being prepared;

                       b) designed such internal control over financial reporting, or
               caused such internal control over financial reporting to be designed
               under our supervision, to provide reasonable assurance regarding
               the reliability of financial reporting and the preparation of financial
               statements for external purposes in accordance with generally
               accepted accounting principles;

                      c) evaluated the effectiveness of the Registrant’s disclosure
               controls and procedures and presented in this report our conclusions



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               about the effectiveness of the disclosure controls and procedures, as
               of the end of the period covered by this report based on such
               evaluation; and

                       d) disclosed in this report any change in the Registrant’s
               internal control over financial reporting that occurred during the
               Registrant’s most recent fiscal quarter (the Registrant’s fourth fiscal
               quarter in the case of an annual report) that has materially affected,
               or is reasonably likely to materially affect, the Registrant’s internal
               control over financial reporting; and

               5. The Registrant’s other certifying officer and I have disclosed,
               based on our most recent evaluation of internal control over
               financial reporting, to the Registrant’s auditors and the audit
               committee of the Registrant’s board of directors (or persons
               performing the equivalent functions):

                       a) all significant deficiencies and material weaknesses in the
               design or operation of internal control over financial reporting
               which are reasonably likely to adversely affect the Registrant’s
               ability to record, process, summarize and report financial
               information; and

                      b) any fraud, whether or not material, that involves
               management or other employees who have a significant role in the
               Registrant’s internal control over financial reporting.

       67.     An identical Certification was signed by Defendant Passmore and attached as

Exhibit 31(b) to the 2018 Form 10-K.

       68.     The disclosures made in both Anand’s and Passmore’s Certifications were

materially false and misleading because, among other items, Defendants Anand and Passmore

were aware that: (i) the 2018 Form 10-K contained untrue statements of material facts; (ii) that the

financial statements and other financial information in the 2018 Form 10-K did not fairly present

the financial condition of the Company; (iii) Defendants did not design internal control over

financial reporting that could provide reasonable assurance regarding the reliability of the

Company’s financial reporting and the preparation of financial statements in accordance with

GAAP because Hallmark’s systems of accounting internal controls was materially flawed as




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described in Section IV(D), supra.; and (iv) Defendants did not evaluate, or severely recklessly

disregarded, the effectiveness of the Hallmark’s disclosure controls and procedures.

       69.     On May 8, 2019, Hallmark Financial issued a press release reporting its financial

results for the first quarter of 2019, including reported net income of $15.0 million.

       70.     The May 8, 2019 press release was materially false and misleading when issued

because the financial results reported therein were materially false and misleading and prepared in

violation of GAAP, as described in Section VII, infra.

       71.     Also on May 8, 2019, Hallmark filed its quarterly report on Form 10-Q with the

SEC for the period ended March 31, 2019, affirming the previously reported financial results. The

Form 10-Q was signed by Defendants Anand and Passmore. Therein, the Company reported that

its consolidated reserve for unpaid losses and loss adjustment expenses was $530.23 million.

However, these reported financial results were materially false and misleading and prepared in

violation of GAAP, as described in Section VII, infra.

       72.     Hallmark’s May 8, 2019 Form 10-Q also disclosed the purported primary factors

affecting each segment’s prior accident year reserve development, providing in relevant part:

               Specialty Commercial Segment. Our Commercial Auto business
               unit experienced net unfavorable development in the 2017 and prior
               accident years primarily in the primary commercial auto liability
               line of business, partially offset by favorable development in the
               primary commercial auto line of business in the 2018 accident
               year. (emphasis added).

       73.     This disclosure was materially misleading because the described factors affecting

loss reserve developments failed to disclose Defendants’ “reserve project” practice of fraudulently

manipulating reported loss reserves, as described in Section IV(D), supra.




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       74.     Hallmark’s May 8, 2019 Form 10-Q also attached as exhibits SOX Certifications

signed by Defendants Anand and Passmore in substantially the same form as their SOX

Certifications attached as exhibits to the 2018 Form 10-K.

       75.     The disclosures made in both Anand’s and Passmore’s Certifications were

materially false and misleading because, among other items, Defendants Anand and Passmore

were aware that: (i) the Form 10-Q contained untrue statements of material facts; (ii) that the

financial statements and other financial information in the Form 10-Q did not fairly present the

financial condition of the Company; (iii) Defendants did not design internal control over financial

reporting that could provide reasonable assurance regarding the reliability of the Company’s

financial reporting and the preparation of financial statements in accordance with GAAP because

Hallmark’s systems of accounting internal controls was materially flawed as described in Section

IV(D), supra.; and (iv) Defendants did not evaluate, or severely recklessly disregarded, the

effectiveness of the Hallmark’s disclosure controls and procedures.

       76.     On August 7, 2019, Hallmark Financial reported its second quarter 2019 financial

results in a press release entitled Hallmark Financial Reports Second Quarter 2019 Results

Highlighted by Significantly Higher Earnings and Book Value Per Share Growth, including

reported net income of $13.0 million for the quarter.

       77.     The August 7, 2019 press release was materially false and misleading when issued

because the financial results reported therein were materially false and misleading and prepared in

violation of GAAP, as described in Section VII, infra.

       78.     On August 9, 2019, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2019, affirming the previously reported financial results.




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The Form 10-Q was signed by Defendants Anand and Passmore. Therein, the Company reported

that its consolidated reserve for unpaid losses and loss adjustment expenses was $551.54 million.

         79.   The financial disclosures contained in the August 9, 2019 Form 10-Q were

materially false and misleading and prepared in violation of GAAP, as described in Section VII,

infra.

         80.   The August 9, 2019 Form 10-Q also disclosed the purported primary factors

affecting each segment’s prior accident year reserve development, the report stated, in relevant

part:

               Specialty Commercial Segment. Our Commercial Auto business
               unit experienced net unfavorable development in the 2017 and prior
               accident years primarily in the primary commercial auto liability
               line of business, partially offset by net favorable development in the
               primary commercial auto line of business in the 2018 accident year.
               Our E&S Casualty business unit experienced net unfavorable
               development primarily in our E&S package insurance products in
               the 2017 and prior accident years, partially offset by net favorable
               development in the 2018 accident year.

         81.   This disclosure was materially false and misleading and omitted material facts,

because, as described in Section IV(D), Hallmark was not properly setting loss reserve amounts,

instead utilizing arbitrary and fraudulent methods to artificially lower loss reserves and artificially

inflate reported net income.

         82.   Hallmark’s August 9, 2019 Form 10-Q also attached as exhibits SOX Certifications

signed by Defendants Anand and Passmore in substantially the same form as their SOX

Certifications attached as exhibits to the 2018 Form 10-K.

         83.   The disclosures made in both Anand’s and Passmore’s Certifications were

materially false and misleading because, among other items, Defendants Anand and Passmore

were aware that: (i) the Form 10-Q contained untrue statements of material facts; (ii) that the

financial statements and other financial information in the Form 10-Q did not fairly present the


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financial condition of the Company; (iii) Defendants did not design internal control over financial

reporting that could provide reasonable assurance regarding the reliability of the Company’s

financial reporting and the preparation of financial statements in accordance with GAAP because

Hallmark’s systems of accounting internal controls was materially flawed as described in Section

IV(D), supra.; and (iv) Defendants did not evaluate, or severely recklessly disregarded, the

effectiveness of the Hallmark’s disclosure controls and procedures.

         84.   On November 7, 2019, Hallmark Financial announced its third quarter 2019

financial results in a press release entitled Hallmark Financial Announces Third Quarter 2019

Earnings Results, including reported net income of $5.3 million.

         85.   The November 7, 2019 press release was materially false and misleading when

issued because the financial results reported therein were materially false and misleading and

prepared in violation of GAAP, as described in Section VII, infra.

         86.   Also on November 7, 2019, the Company filed its quarterly report on Form 10-Q

with the SEC for the period ended September 30, 2019, affirming the previously reported

financial results. The Form 10-Q was signed by Defendants Anand and Passmore. Therein, the

Company reported that its consolidated reserve for unpaid losses and loss adjustment expenses

was $565.29 million.

         87.   The financial disclosures contained in the November 7, 2019 Form 10-Q were

materially false and misleading and prepared in violation of GAAP, as described in Section VII,

infra.

         88.   The November 7, 2019 Form 10-Q also disclosed the purported primary factors

affecting each segment’s prior accident year reserve development, the report stated, in relevant

part:




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                Specialty Commercial Segment. Our Commercial Auto business
                unit experienced net unfavorable development in the 2017 and prior
                accident years primarily in the primary commercial auto liability
                line of business, partially offset by net favorable development in the
                primary commercial auto line of business in the 2018 accident year.
                Our E&S Casualty business unit experienced net unfavorable
                development primarily in our E&S package insurance products in
                the 2017 and prior accident years, partially offset by net favorable
                development in the 2018 accident year.

        89.     This disclosure was materially false and misleading and omitted material facts,

because, as described in Section IV(D), Hallmark was not properly setting loss reserve amounts,

instead utilizing arbitrary methods to artificially lower loss reserves and artificially inflate reported

net income.

        90.     Hallmark’s November 7, 2019 Form 10-Q also attached as exhibits SOX

Certifications signed by Defendants Anand and Passmore in substantially the same form as their

SOX Certifications attached as exhibits to the 2018 Form 10-K.

        91.     The disclosures made in both Anand’s and Passmore’s Certifications were

materially false and misleading because, among other items, Defendants Anand and Passmore

were aware that: (i) the Form 10-Q contained untrue statements of material facts; (ii) that the

financial statements and other financial information in the Form 10-Q did not fairly present the

financial condition of the Company; (iii) Defendants did not design internal control over financial

reporting that could provide reasonable assurance regarding the reliability of the Company’s

financial reporting and the preparation of financial statements in accordance with GAAP because

Hallmark’s systems of accounting internal controls was materially flawed as described in Section

IV(D), supra.; and (iv) Defendants did not properly evaluate loss reserves, and/or were severely

reckless in their accounting.

        92.     During a November 8, 2019 conference call with investors regarding Hallmark’s

reported financial results for the quarter ended September 30, 2019, Defendant Anand falsely


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reassured the market that Hallmark had adequate levels of loss reserves to address losses and close

out cases from 2016 and 2017:

               [W]e’re less than 50 claims open in terms of all those accident years
               at this point and adequate with the case reserve from our perspective.
               We have a little bit more over a couple of hundred claims open
               between ’17 and ’16 from an overall claim perspective. But the key
               point is, we feel case reserves, from a case reserve perspective, are
               probably at the highest level we’ve seen in our company in our
               history, and we feel they’re adequately reserved. But as you get kind
               of closer to closing out the claims, you do get some volatility. And
               we thought it was prudent to add to our reserves on that basis based
               on some of the volatility we’re seeing as we to continue the pace of
               closing out the claims that we have.

       93.     This disclosure was false and misleading because it represented that Hallmark

retained adequate loss reserves, despite Defendant Anand’s knowledge of Hallmark’s fraudulent

and improper manipulation and understatement of loss reserves, as described in Section IV(D),

supra, which would lead directly to Hallmark’s subsequent disclosure of a $63.8 million loss

reserve development in March 2020, demonstrating that loss reserves were improperly understated

during the Class Period.

       94.     As a result of Anand’s false and misleading statements on the Earnings Call,

Hallmark’s stock price rose $1.11 to close at $17.91 a share, a gain of approximately 6.6%.

                                VI.    THE TRUTH EMERGES

       95.     On March 2, 2020, Hallmark announced that it would be forced to increase its

loss reserves by a shocking $63.8 million to recognize losses stemming primarily from its

underwriting years 2016 and 2017 Binding Primary Auto business. Perhaps due to these shocking

losses, Hallmark further announced that it was exiting the Binding Primary Commercial Auto

business. In a press release, the Company stated, in relevant part:

               Hallmark Financial Services, Inc. (“Hallmark Financial” or the
               “Company”)



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               (NASDAQ: HALL), a specialty property and casualty insurance
               company, announced last month to its brokers and agents that the
               Company had made the strategic decision to exit its Binding Primary
               Auto business. Despite several years of implementing proactive rate
               actions and policy changes, the Company has continued to
               experience increasing claim severity from prior accident years. As
               a result, Hallmark Financial has made the decision that its in-force
               policies will be placed into run-off and non-renewed in accordance
               with applicable state requirements.

                                             *   * *

               The Company also announced that it will file its annual insurance
               statutory reports today, which will include pre-tax adverse prior year
               loss development of $63.8 million, net of reinsurance, for fiscal
               2019, as provided in Schedule P, of which $56.1 million was
               recorded in the fourth quarter of 2019. These losses are primarily
               related to the Binding Primary Auto business for the 2016 and 2017
               underwriting years, with a smaller remainder largely attributable to
               general liability. These amounts are unaudited and based on
               statutory requirements rather than generally accepted accounting
               principles.

                                             *   * *

               Despite achieving significant rate increases in this portfolio and
               improving the overall risk profile of the book, the performance of
               this business continued to be volatile. Over the past five years, the
               Binding Primary Auto business was responsible for over 100% of
               the Company’s aggregate adverse reserve development.

       96.     As a result of this shocking news, the Company’s share price fell from a close of

$14.33 on March 2, 2020 to close at $12.23 per share on March 3, 2020, a decline of $2.10 (14.7%),

on unusually heavy trading volume.

       97.     Ratings company A.M. Best reacted on March 2, 2020 by issuing a press release

entitled AM Best Places Credit Ratings of Hallmark Financial Services, Inc. and Its Subsidiaries

Under Review With Negative Implications, which stated, in pertinent part:

               AM Best has placed under review with negative implications the
               Long-Term Issuer Credit Rating (Long-Term ICR) of “bbb-” and
               the Long-Term Issue Credit Ratings (Long-Term IR) of Hallmark
               Financial Services, Inc. (Hallmark Financial) [NASDAQ: HALL].



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               Concurrently, AM Best has placed under review with negative
               implications the Financial Strength Rating (FSR) of A- (Excellent)
               and the Long-Term ICRs of “a-” of the members of Hallmark
               Insurance Group (Hallmark Group).

                                            *    *   *

               These Credit Ratings (ratings) have been placed under review with
               negative implications following the announcement by Hallmark
               Financial that its 2019 statutory results will include pre-tax adverse
               prior year loss development of $63.8 million, net of reinsurance.

       98.     Securities analyst Boenning & Scattergood reported in its March 5, 2020, equity

research report that “the risk of further reserve development remain[ed] high in the near term.”

The report further stated that “Hallmark’s share price has declined more than 20% since the

announcement [of exiting the Binding Primary Auto business line] and is now trading under 70%

of book value.”

       99.     On March 6, 2020, Hallmark was downgraded by Zacks Investment Research from

a “hold” rating to a “strong sell” rating. When the market opened on the following Monday,

Hallmark shares dropped from a close of $9.29 per share on March 6, 2020 to close trading on

March 9, 2020 at $7.39, a loss of $1.90 per share (20.5%).

       100.    On March 11, 2020, after the market closed, Hallmark Financial disclosed that it

had dismissed its independent auditor due to a disagreement regarding estimates for reserves for

unpaid losses, among other things. In a Form 8-K filed with the SEC after the market closed, the

Company stated, in relevant part:

               On March 5, 2020, Hallmark Financial Services, Inc. (the
               “Company”) dismissed BDO USA, LLP (“BDO”) as the
               Company’s independent registered public accounting firm, effective
               immediately. BDO’s audit reports on the Company’s consolidated
               financial statements as of and for the years ended December 31,
               2017 and 2018, did not contain any adverse opinion or disclaimer of
               opinion, and were not qualified or modified as to uncertainty, audit
               scope or accounting principles. The decision to change accountants



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               was approved by the Audit Committee of the Company’s board of
               directors (the “Audit Committee”).

               During the two fiscal years ended December 31, 2018, and the
               subsequent interim periods through the filing of the Company’s
               Form 10-Q for the quarter ended September 30, 2019, there were no
               disagreements (as defined in Item 3.04 of Regulation S-K) between
               the Company and BDO. Subsequently, a disagreement arose
               regarding certain matters related to (a) the Company’s processes
               for estimating reserves for unpaid losses and loss adjustment
               expenses, (b) the resulting potential impact on the Company’s
               assessment of the associated internal controls over financial
               reporting, and (c) the resulting potential impact on recorded
               amounts of those reserves, all as of the quarter ended September
               30, 2019, and the year ended December 31, 2019. The Audit
               Committee has discussed the subject matter of the disagreement
               with BDO and has authorized BDO to respond fully to the inquiries
               of any successor independent registered public accounting firm
               concerning the subject matter of such disagreement. (Emphasis
               added).

       101.    Thus, the Company admitted that it dismissed its independent auditor over a

“disagreement” pertaining to Hallmark’s loss reserve calculations and internal controls. However,

Defendants failed to comply with the requirement of Item 304(a)(1) of Regulation S-K (17 C.F.R.

§ 229.304(a)(1)) that Hallmark “describe” (rather than just “identify”) the nature of the Company’s

disagreement with BDO. Hallmark’s failure to comply with this requirement allowed it to conceal

the specific nature of BDO’s perceived need to obtain additional audit evidence and whatever

disagreements that BDO may have had with respect to Hallmark’s loss reserve procedures or

calculations or Hallmark’s systems of internal accounting control.

       102.    As a result of the March 11, 2020 Form 8-K filing, the Company’s share price fell

from a closing price of $8.10 on March 11, 2020 to close at $5.71 per share on March 12, 2020, a

decline of $2.39 per share (29.5%), on unusually heavy trading volume.

       103.    On March 17, 2020, Hallmark filed with the SEC a letter from BDO. Therein,

BDO stated that it had attempted to expand the scope of its audit but that Hallmark would not



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respond to requests regarding “the matters of disagreement” related to Hallmark’s process for

estimating and reporting loss reserves:

               We have been furnished with a copy of the response to Item 4.01 of
               Form 8-K for the event that occurred on March 11, 2020, to be filed
               by our former client, Hallmark Financial Services, Inc. (the
               “Company”). We agree with the statements made in response to that
               Item insofar as they relate to our Firm. In addition, with respect to
               the matters of disagreement, BDO expanded significantly the scope
               of its audit on January 31, 2020, with respect to which a substantial
               portion of the requests had not been received and/or tested prior to
               our termination.

       104.    On this news, the Company’s share price fell $0.08 per share, or 2.5%, to close at

$3.12 per share on March 18, 2020.

       105.    On March 20, 2020, Hallmark filed a Current Report on Form 8-K with the SEC.

This Current Report was signed by Defendant Passmore and disclosed that the Company had

received a notice from the NASDAQ threatening to delist the Company’s shares due to its failure

to timely file its 2019 Form 10-K:

               Item 3.01 Notice of Delisting or Failure to Satisfy a Continued
               Listing Rule or Standard; Transfer of Listing

               On March 18, 2020, Hallmark Financial Services, Inc. (the
               “Company”) received notice from Nasdaq that, as a result of the
               Company’s failure to timely file its Form 10-K for the year ended
               December 31, 2019 (the “Filing”), the Company is not in
               compliance with Nasdaq’s Listing Rule 5250(c)(1). Under Nasdaq
               rules, the Company has 60 calendar days to submit a plan to regain
               compliance. If such plan is accepted, Nasdaq may grant an
               extension of up to 180 calendar days from the due date of the Filing,
               or until September 14, 2020, to regain compliance.

       106.    On May 18, 2020, Hallmark filed a Current Report on Form 8-K with the SEC.

This Current Report was signed by Defendant Passmore and disclosed that the Company had

received a notice from the NASDAQ threatening to delist the Company’s shares, this time due to




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its failure to timely file its quarterly report on Form 10-Q for the quarter ended March 31, 2020,

as well as its continuing failure to file its 2019 Form 10-K:

               Item 3.01 Notice of Delisting or Failure to Satisfy a Continued
               Listing Rule or Standard; Transfer of Listing

               On May 13, 2020, Hallmark Financial Services, Inc. (the
               “Company”) received notice from Nasdaq that, as a result of the
               Company’s failure to timely file its Form 10-Q for the quarter ended
               March 31, 2020 and because it remains delinquent in filing its Form
               10-K for the year ended December 31, 2019, the Company is not in
               compliance with Nasdaq’s Listing Rule 5250(c)(1). As a result, the
               Company has until May 28, 2020 to submit an update to its original
               plan to regain compliance with the filing requirements. If such
               updated plan is accepted, Nasdaq may grant an extension until up to
               September 14, 2020 to regain compliance

       107.    On July 17, 2020, Hallmark filed a Current Report on Form 8-K with the SEC. This

Current Report was signed by Defendant Passmore and disclosed that the Company had entered

into a reinsurance agreement in which it paid a significant sum of money to a reinsurer in order to

prevent the necessity of any further adjustments to the Company’s loss reserves from the Auto

Insurance policies.

       108.    On September 21, 2020, the Company filed a report with the SEC on Form 8-K

disclosing that Defendant Passmore had resigned as Chief Financial Officer of the Company,

effective September 30, 2020.

      VII.     HALLMARK’S FINANCIAL STATEMENTS VIOLATED GAAP BY
                   MATERIALLY MISREPRESENTING HALLMARK’S
                            REPORTED LOSS RESERVES

       109.    These improper accounting practices and manipulations were in direct violation of

GAAP and SEC rules, as described below, and resulted in materially overstated financial results

for the year ended December 31, 2019, and each quarter ended March 31, 2019, June 30, 2019 and

September 30, 2019.




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        110.   Generally Accepted Accounting Principles (“GAAP”) are the set of conventions,

rules and procedures that constitute the professional standards of the accounting profession.

Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) provides that financial statements filed with the SEC

which are not prepared in compliance with GAAP are presumed to be misleading or inaccurate.

The Accounting Standards Codification (“ASC”), along with SEC regulations, represents

authoritative guidance regarding GAAP. During the Class Period, Hallmark Financial represented

that its financial statements were presented in conformity with GAAP.

        111.   GAAP provides rules for how and when to set loss reserves. ASC 944 requires that

public insurance companies estimate losses for unpaid claims and that losses should be included

in a reserve.15 ASC 944-40-25-1 and 944-40-25-2 address the recognition of insurance claim costs

and provide that both of the following shall be accrued when insured events occur:

               a.        A liability for unpaid claims (including estimates of costs for claims relating

        to insured events that have occurred but have not been

        reported to the insurer); and

               b.        A liability for claim adjustment expense; that is a liability for all costs

        expected to be incurred in connection with the settlement of

        unpaid claims.

        112.   The estimated liability for unpaid claims includes the amount of money that will be

required for future payments on both of the following:

               a.        Claims that been reported to the insurer;




   15
     Financial Services – Insurance, Accounting Standards Codification Mo. 944, Financial
Accounting Standards Board (2018).


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                b.      Claims related to insured events that have occurred but have not been

       reported to the insurer as of the date the liability is estimated.

       113.     ASC 944-40-30-1 addresses a company’s estimation of loss and loss adjustment

expense reserves and states:

                The liability for unpaid claims shall be based on the estimated
                ultimate cost of settling the claims (including the effects of inflation
                and other societal and economic factors), using past experience
                adjusted for current trends, and any other factors that would modify
                past experience.

       114.     Thus, Hallmark Financial was required to recognize the estimated future amount of

settling all claims covered by the insurance policies it sold as a loss reserve, and thus an expense

in the current period. But Defendants’ financial statements disseminated and/or filed with the SEC

during the Class Period violated GAAP by materially misrepresenting Hallmark’s reported loss

reserves as detailed in Section IV(D), supra (thus also overstating net income and net assets).

        VIII.        ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

       115.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Executive Defendants, by virtue

of their receipt of information reflecting the true facts regarding Hallmark Financial, their control

over, and/or receipt and/or modification of Hallmark’s allegedly materially misleading

misstatements and/or their associations with the Company which made them privy to confidential

proprietary information concerning Hallmark, participated in the fraudulent scheme alleged herein.




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       116.    Defendants’ contemporaneous knowledge of the falsity of their statements

identified in Section V herein further demonstrates their scienter in making these false statements.

Defendants’ contemporaneous knowledge of the falsity of the reported loss reserve amounts is

demonstrated by the following:

               a)      CW-2’s representations that Defendant Anand knew about and directed

       Milch and Stauber’s ongoing manipulation and arbitrary lowering of loss reserves;

               b)      CW-2’s representations that Defendant Avand and Stauber had a close prior

       relationship and had frequent meetings together and that they also held company town hall

       meetings together to discuss Hallmark’s business practices with employees;

               c)      CW-2’s recounting of a phone conversation with Milch in July 2020 during

       which Milch confided that Stauber directed Milch to arbitrarily manipulate and lower loss

       reserves in relation to Hallmark’s commercial auto claims and Milch further told CW-2

       that Stauber told her that the lowering of loss reserves was a directive from Defendant CEO

       Naveen Anand. Milch referred to the instant lawsuit and told CW-2 that she was worried

       about committing securities fraud and said that she was thinking about leaving Hallmark

       to work for another insurance company, Gallagher Basset Insurance. Milch indicated to

       CW-2 that she wanted CW-2 to come with her;

               d)      CW-1 similarly represents that Defendant Anand knew about these “reserve

       project” meetings and that Anand and Stauber frequently met to discuss loss reserves.

       117.    Lead Plaintiff has also alleged strong circumstantial evidence of Defendants’

scienter, including that: (i) Hallmark’s actual accounting policies differed from its stated policies;

(ii) Hallmark’s refusal to comply with BDO’s request for information necessary to perform an

audit of Hallmark’s 2019 financial statements, and BDO’s firing when it persisted in its requests;




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(iii) Hallmark’s weak internal controls, combined with the Executive Defendants’ knowledge of

the weaknesses and SOX certifications; (iv) Defendants’ concealment of a description of the nature

of its disagreements with BDO regarding Hallmark’s loss reserve calculations, despite its legal

requirement under Item 304(a)(1) of Regulation S-K that it do so; and (v) the importance of the

Binding Primary Auto business segment as a core operation of the Company.

                                     IX.    LOSS CAUSATION

        118.    At the time of Lead Plaintiff’s purchases, the price of Hallmark stock was

artificially inflated as a result of Defendants’ materially false and misleading statements and

omissions as alleged herein. Defendants’ false and misleading statements and omissions had the

intended effect and caused the Hallmark Financial stock to trade at artificially inflated prices

during the Relevant Period, during which Lead Plaintiff purchased such stocks. The Hallmark

Financial stock could not have been issued, or would have been sold at dramatically lower prices,

had investors been aware of Defendants’ fraudulent scheme.

        119.    Because Lead Plaintiff was unaware that Defendants’ representations identified

above were false and misleading (and that Defendants omitted and failed to disclose that its

financial results were achieved through a fraudulent scheme), they paid an artificially inflated and

unreasonable price for their purchases of Hallmark Financial stock.

        120.    Loss causation is demonstrated by Lead Plaintiff under each of the alternative

theories of: (i) corrective disclosures; and (ii) materialization of the risk.

A.      Corrective Disclosures.

        121.    Loss causation is demonstrated when the truth behind Defendants’ various false

statements and material omissions was gradually revealed to the market in a series of corrective

disclosures, causing Lead Plaintiff to suffer significant losses when the following non-exhaustive

examples of partial corrective disclosures caused the price of the Hallmark Financial stock to


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decline sharply in market price as the prior artificial inflation came out of the Hallmark Financial

stock:

                a)      Disclosures Regarding Massive Charges to 2019 Earnings to Correct

         Inadequate Loss Reserves. In response to the March 2, 2020 disclosure that the Company

         would be forced to recognize a $63.8 million charge to increase its previously reported loss

         reserves, the Hallmark stock that had previously been purchased by Lead Plaintiff fell from

         a close of $14.33 on March 2, 2020 to close at $12.23 per share on March 3, 2020, a decline

         of $2.10 (14.7%), on unusually heavy trading volume (¶¶ 94-95);

                b)      Disclosure Regarding Hallmark Firing its Auditor.            In response to

         Hallmark’s March 2011 disclosure that it had fired its auditor deep into its audit of the

         Company’s 2019 financial statements (and just days before the 2019 financial statements

         were required to be filed with the SEC), the Company’s share price fell from a closing

         price of $8.10 on March 11, 2020 to close at $5.71 per share on March 12, 2020, a decline

         of $2.39 per share (29.5%), on unusually heavy trading volume (¶¶ 99-101); and

                c)      Disclosure that Hallmark Refused to Cooperate With Audit Procedures

         Prior to Firing BDO. In response to BDO’s March 17, 2020 disclosure that Hallmark had

         refused to cooperate with its audit prior to firing BDO, the Company’s share price fell

         $0.08 per share, or 2.5%, to close at $3.12 per share on March 18, 2020. (¶¶ 102-103).

         122.   The timing and magnitude of the declines in Hallmark’s share price negate any

inference that Lead Plaintiff’s losses were caused by changed market conditions, macroeconomic

or industry factors, or Company-specific factors unrelated to Defendants’ wrongful conduct.

         123.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the damages suffered by Lead Plaintiff and other Class members. Had Defendants disclosed




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complete, accurate, and truthful information concerning these matters during the Class Period,

Lead Plaintiff and other Class members would not have purchased or otherwise acquired

Hallmark’s securities or would not have purchased or otherwise acquired these securities at the

artificially inflated prices that they paid. It was also foreseeable to Defendants that misrepresenting

and concealing these material facts from the public would artificially inflate the price of Hallmark

securities and that the corrective disclosure of the Defendants’ misrepresentations and omissions

would cause the price of Hallmark securities to decline.

B.     Materialization of Risks.

       124.    As detailed herein, Defendants engaged in a scheme to deceive Lead Plaintiff and

the market and a course of conduct that artificially inflated the price of the Hallmark Financial

stock and operated as a fraud or deceit on Lead Plaintiff by failing to disclose and misrepresenting

the adverse facts detailed herein.

       125.    Hallmark’s reported financial results and future business prospects were based

upon its illicit (and undisclosed) manipulation of its reported financial results and undisclosed

material weaknesses in its systems of accounting internal control.

       126.    Throughout the period during which Lead Plaintiff purchased his Hallmark stock,

the prices of these securities were artificially inflated as a result of Defendants’ materially false

and misleading statements and omissions as alleged herein.

       127.    Defendants’ false statements served to conceal the risks that the loss reserve scheme

would be publicly exposed, as well as the risks related to Defendants’ and Hallmark Financial

Finance’s preparation and dissemination of false financial statements.

       128.    It was foreseeable that public exposure of the scheme would lead to negative

financial and legal consequences to Defendants, including: (i) ratings agency and analyst

downgrades; (ii) dismissal of its auditor BDO; (iii) resignation of key employees; (iv) the inability


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to complete and timely file required financial statements; and (v) the threat of delisting by

NASDAQ. The materialization of any one or more of these factors would lead to a significant

decline in the price of Hallmark stock.

       129.    The value of Lead Plaintiff’s investments in Hallmark stock was negatively

impacted when the concealed risks materialized in at least the following respects:

               a)      Ratings agency downgrades: ¶¶ 96-98;
               b)      Auditor resignation or firing: ¶¶ 99-103;

               c)      Employee resignations or firings: ¶ 107;
               d)      Inability to complete and timely file required financial statements: ¶¶ 104-

       105; and

               e)      Threats of delisting by NASDAQ: ¶¶ 104-105.

       130.    The declines in the price of the Hallmark Financial stock and resulting losses are

directly attributable to the materialization of risks that were previously misrepresented or

concealed by the Defendants.

       131.    Had Lead Plaintiff known of the material adverse information not disclosed by the

Defendants or been aware of the truth behind their material misstatements, they would not have

purchased the Hallmark Financial stock at artificially inflated prices.

       132.    As a result of their purchases of the Hallmark Financial stock, Lead Plaintiff

suffered economic loss and damages, as contemplated by the federal securities laws.

                                    X.    NO SAFE HARBOR

       133.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances does not apply to any of the false and misleading

statements pleaded in this Complaint. The statutory safe harbor or bespeaks caution doctrine does

not apply to statements included in financial statements prepared in accordance with generally




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accepted accounting principles. Moreover, none of the statements complained of herein was a

forward-looking statement. Rather, they were historical statements or statements of purportedly

current facts and conditions at the time the statements were made, including statements about

Hallmark’s business, operations, prospects, current and historical financial accounting practices,

financial condition, and internal controls, among other topics.

       134.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary

language identifying important facts that could cause actual results to differ materially from those

in the statements. As set forth above in detail, then-existing facts contradicted Defendants’

statements regarding Hallmark’s business, operations, prospects, financial accounting practices,

financial condition, and internal controls, among others. Given the then-existing facts

contradicting Defendants’ statements, any generalized risk disclosures made by Hallmark were

insufficient to insulate Defendants from liability for their materially false and misleading

statements.

                        XI.     THE PRESUMPTION OF RELIANCE

       135.    At all relevant times, the market for Hallmark’s common stock was efficient for the

following reasons, among others:

               a)      Hallmark’s stock met the requirements for listing, and was listed and

       actively traded on the NASDAQ, a highly efficient and automated market;

               b)      As a regulated issuer, Hallmark filed periodic reports with the SEC and the

       NASDAQ;

               c)      Hallmark regularly communicated with public investors via established

       market communication mechanisms, including through regular dissemination of press

       releases on the national circuits of major newswire services and through other wide ranging


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       public disclosures, such as communications with the financial press and other similar

       reporting services; and

               d)      Hallmark was followed by numerous securities analysts employed by major

       brokerage firms who wrote reports that were distributed to those brokerage firms’ sales

       force and certain customers. Each of these reports was publicly available and entered the

       public market place.

       136.    As a result of the foregoing, the market for Hallmark’s common stock reasonably

promptly digested current information regarding Hallmark from all publicly available sources and

reflected such information in the price of Hallmark’s common stock. All purchasers of Hallmark

common stock during the Class Period suffered similar injury through their purchase of Hallmark

common stock at artificially inflated prices, and a presumption of reliance applies.

       137.    A class-wide presumption of reliance is also appropriate in this action under the

United States Supreme Court holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S.

128 (1972), because the claims asserted herein against Defendants are predicated upon omissions

of material fact for which there is a duty to disclose.

                                 XII.    CLASS ALLEGATIONS

       138.    Lead Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and 23(b)(3) on behalf of a Class consisting of all those who purchased or

otherwise acquired the common stock of Hallmark between March 5, 2019 through March 17,

2020, inclusive (the “Class”). Excluded from the Class are (i) Defendants; (ii) members of the

immediate family of each Executive Defendant; (iii) any person who was an officer or director of

Hallmark; (iv) any firm or entity in which any Defendant has or had a controlling interest; (v) any

person who participated in the wrongdoing alleged; (vi) Defendants’ liability insurance carriers;

(vii) any affiliates, parents, or subsidiaries of Hallmark; (viii) all Hallmark plans that are covered


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by ERISA; and (ix) the legal representatives, agents, affiliates, heirs, beneficiaries, successors-in-

interest, or assigns of any excluded person or entity, in their respective capacity as such.

       139.      The members of the Class are so numerous that joinder of all members is

impracticable.    Throughout the Class Period, Hallmark shares were actively traded on the

NASDAQ. As of August 10, 2020, there were approximately 18.12 million shares of Hallmark

common stock outstanding. While the exact number of Class members is unknown to Lead

Plaintiff at this time and can only be ascertained through appropriate discovery, Lead Plaintiff

believes that there are at least hundreds-of-thousands of members of the Class. Class members

who purchased Hallmark common stock may be identified from records maintained by Hallmark

or its transfer agent(s) and may be notified of this class action using a form of notice similar to that

customarily used in securities class actions.

       140.      Lead Plaintiff’s claims are typical of Class members’ claims, as all members of the

Class were similarly affected by Defendants’ wrongful conduct in violation of federal laws as

complained of herein.

       141.      Lead Plaintiff will fairly and adequately protect Class members’ interests and has

retained competent counsel experienced in class actions and securities litigation.

       142.      Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members. Among the questions of fact and

law common to the Class are whether:

                 a)     The federal securities laws were violated by Defendants’ acts as alleged

       herein;

                 b)     Defendants made statements to the investing public during the Class Period

       that were false, misleading or omitted material facts;




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                 c)      Defendants acted with scienter; and

                 d)      Class members suffered compensable damages

          143.   A class action is superior to all other available methods for the fair and efficient

adjudication of this action because joinder of all Class members is impracticable. Additionally,

the damage suffered by some individual Class members may be relatively small so that the burden

and expense of individual litigation make it impossible for such members to individually redress

the wrong done to them. There will be no difficulty in the management of this action as a class

action.

 XIII.      CLAIMS BROUGHT PURSUANT TO SECTIONS 10(B) AND 20(A) OF THE
                                EXCHANGE ACT

                                             COUNT I

                      For Violations of Section 10(b) of the Exchange Act and
                            SEC Rule 10b-5 Promulgated Thereunder
                                     (Against All Defendants)

          144.   Lead Plaintiff repeats and re-alleges each and every allegation contained above as

if fully set forth herein.

          145.   This Count is asserted on behalf of all members of the Class against Defendants

Hallmark, Anand, and Passmore for violations of Section 10(b) of the Exchange Act, 15 U.S.C. §

78j(b) and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

          146.   During the Class Period, Defendants disseminated or approved the false statements

specified above, which they knew were, or they deliberately disregarded as, misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

          147.   Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that they:

(i) employed devices, schemes, and artifices to defraud; (ii) made untrue statements of material



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facts or omitted to state material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; and/or (iii) engaged in acts,

practices, and a course of business that operated as a fraud or deceit upon Lead Plaintiff and others

similarly situated in connection with their purchases of Hallmark common stock during the Class

Period.

          148.   Defendants, individually and in concert, directly and indirectly, by the use of means

or instrumentalities of interstate commerce and/or of the U.S. mails, engaged and participated in a

continuous course of conduct that operated as a fraud and deceit upon Lead Plaintiff and the Class;

made various untrue and/or misleading statements of material facts and omitted to state material

facts necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading; made the above statements intentionally or with a deliberately

reckless disregard for the truth; and employed devices and artifices to defraud in connection with

the purchase and sale of Hallmark common stock, which were intended to, and did: (i) deceive the

investing public, including Lead Plaintiff and the Class, regarding, among other things, the

adequacy of Hallmark’s loss reserves and loss adjustments, Hallmark’s business, operations, and

prospects, the effectiveness of Hallmark’s internal controls over accounting and financial reporting

practices, and Hallmark’s financial condition; (ii) artificially inflate and maintain the market price

of Hallmark’s common stock; and (iii) cause Lead Plaintiff and other members of the Class to

purchase Hallmark common stock at artificially inflated prices and suffer losses when the true

facts became known.

          149.   Defendant Hallmark is liable for all materially false and misleading statements

made during the Class Period, as alleged above. Defendants Anand and Passmore, as top executive

officers of the Company during their respective tenures, are liable as direct participants in the




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wrongs complained of herein. Defendants Anand and Passmore are liable for the false and

misleading statements they personally made and/or signed, as alleged above.

        150.    As described above, Defendants acted with scienter throughout the Class Period, in

that they acted either with intent to deceive, manipulate, or defraud, or with deliberate recklessness.

The misrepresentations and omissions of material facts set forth herein, which presented a danger

of misleading buyers or sellers of Hallmark stock, were either known to the Defendants or were

so obvious that the Defendants should have been aware of them.

        151.    Lead Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Hallmark common stock, which

inflation was removed from its price when the true facts became known. Lead Plaintiff and the

Class would not have purchased Hallmark common stock at the prices they paid, or at all, if they

had been aware that the market price had been artificially and falsely inflated by these Defendants’

misleading statements.

        152.    As a direct and proximate result of these Defendants’ wrongful conduct, Lead

Plaintiff and the other members of the Class suffered damages attributable to the material

misstatements and omissions alleged herein in connection with their purchases of Hallmark

common stock during the Class Period.

                                             COUNT II

                       For Violations of Section 20(a) of the Exchange Act
                           (Against Defendants Anand and Passmore)

        153.    Lead Plaintiff repeats and re-alleges each and every allegation contained above as

if fully set forth herein.

        154.    This Count is asserted on behalf of all members of the Class against Defendants

Anand and Passmore, for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).



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       155.     During their tenures as officers and/or directors of Hallmark, each of these

Defendants was a controlling person of the Company within the meaning of Section 20(a) of the

Exchange Act. See ¶¶ 22-24. By reason of their positions of control and authority as officers

and/or directors of Hallmark, these Defendants had the power and authority to direct the

management and activities of the Company and its employees, and to cause the Company to engage

in the wrongful conduct complained of herein. These Defendants were able to and did control,

directly and indirectly, the content of the public statements made by Hallmark during the Class

Period, including its materially misleading financial statements, thereby causing the dissemination

of the false and misleading statements and omissions of material facts as alleged herein.

       156.     In their capacities as senior corporate officers of the Company, and as more fully

described above in ¶¶ 22-24, Defendants Anand and Passmore had direct involvement in the day-

to-day operations of the Company. Defendants Anand and Passmore signed certain of the

Company’s SEC filings during the Class Period and were directly involved in providing false

information and certifying and approving the false statements disseminated by Hallmark during

the Class Period. As a result of the foregoing, Defendants Anand and Passmore, as a group and

individually, were controlling persons of Hallmark within the meaning of Section 20(a) of the

Exchange Act.

       157.     As set forth above, Hallmark violated Section 10(b) of the Exchange Act by its acts

and omissions as alleged in this Complaint.

       158.     By virtue of their positions as controlling persons of Hallmark and as a result of

their own aforementioned conduct, Defendants Anand and Passmore are liable pursuant to Section

20(a) of the Exchange Act, jointly and severally with, and to the same extent as, the Company is

liable under Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, to Lead




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Plaintiff and the other members of the Class who purchased or otherwise acquired Hallmark

common stock. As detailed above, during the respective times these Defendants served as officers

and/or directors of Hallmark, each of these Defendants was culpable for the material misstatements

and omissions made by Hallmark.

        159.    As a direct and proximate result of these Defendants’ conduct, Lead Plaintiff and

the other members of the Class suffered damages in connection with their purchase or acquisition

of Hallmark common stock.

                                 XIV.     PRAYER FOR RELIEF

        WHEREFORE, Lead Plaintiff prays for relief and judgment as follows:

        (a)     Declaring the action to be a proper class action pursuant to Rule 23(a) and (b)(3) of

the Federal Rules of Civil Procedure on behalf of the Class defined herein;

        (b)     Awarding all damages and other remedies available under the Exchange Act in

favor of Lead Plaintiff and all members of the Class against Defendants in an amount to be proven

at trial, including interest thereon;

        (c)     Awarding Lead Plaintiff and the Class their reasonable costs and expenses incurred

in this action, including attorneys’ fees and expert fees; and

        (d)     Such other and further relief as the Court may deem just and proper.

                              XV.       DEMAND FOR JURY TRIAL

        Lead Plaintiff hereby demands a trial by jury.

DATED: September 30, 2020                     Respectfully submitted,

                                              HAGENS BERMAN SOBOL SHAPIRO LLP

                                              By       /s/ Reed R. Kathrein
                                                      REED R. KATHREIN

                                              Reed R. Kathrein (admitted Pro Hac Vice)
                                              Lucas E. Gilmore (admitted Pro Hac Vice)


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-

mail addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List,

and I hereby certify that I have mailed a paper copy of the foregoing document via the United

States Postal Service to the non-CM/ECF participants indicated on the Manual Notice List

generated by the CM/ECF system.


                                                              /s/ Reed R. Kathrein
                                                             REED R. KATHREIN




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